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12   HITACHI AMERICA, LTD., HITACHI
     ELECTRONIC DEVICES (USA), INC. AND
13   HITACHI DISPLAYS, LTD. (n/k/a JAPAN
     DISPLAY INC.)
14

15
                                  UNITED STATES DISTRICT COURT
16
                               NORTHERN DISTRICT OF CALIFORNIA
17
                                       SAN FRANCISCO DIVISION
18
     IN RE: CATHODE RAY TUBE (CRT)                         CASE NO. 3:07-CV-05944-SC
19   ANTITRUST LITIGATION
                                                           MDL NO. 1917
20   ________________________________________
     This Document Relates To:                             DECLARATION OF JAMES
21                                                         MAXWELL COOPER IN SUPPORT
     Sharp Electronics Corp., et al. v. Hitachi Ltd., et   OF PLAINTIFFS’ ADMINISTRATIVE
22   al., Case No. 13-cv-1173 SC                           MOTION TO FILE UNDER SEAL

23                                                         [Civil L.R. 79-5(d)]

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     COOPER DECLARATION IN SUPPORT OF SHARP’S                                 CASE NO. 3:07-cv-05944-SC
     MOTION TO FILE UNDER SEAL
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 1           I, James Maxwell Cooper, declare as follows:
 2           1.         I am an associate at the law firm of Kirkland & Ellis LLP, counsel for defendants
 3   Hitachi, Ltd. (“HTL”), Hitachi Displays, Ltd. (n/k/a Japan Display Inc.) (“HDP”), Hitachi America,
 4   Ltd. (“HAL”), Hitachi Asia, Ltd. (“HAS”), and Hitachi Electronic Devices (USA), Inc.
 5   (“HED(US)”) (collectively, the “Hitachi Defendants”). I am licensed to practice law in the State of
 6   California and admitted to practice before this Court.
 7           2.         I make this declaration pursuant to Civil Local Rule 79-5(d) to establish that certain
 8   documents containing Highly Confidential information and submitted to the Court by Plaintiffs
 9   Sharp Electronics Corporation and Sharp Electronics Manufacturing Company of America, Inc.
10   (“Sharp”) in connection with Sharp’s Opposition to Thomson S.A.’s Motion to Dismiss for Lack of
11   Personal Jurisdiction (“Sharp’s Opposition”) are sealable.         Except for those matters stated on
12   information and belief, about which I am informed and which I believe to be true, I have personal
13   knowledge of the facts stated herein and, if called as a witness, I could and would competently
14   testify thereto.
15           3.         On June 18, 2008, the Court approved a “Stipulated Protective Order” in this matter
16   (ECF 306).
17           4.         The Hitachi Defendants have produced in this action certain documents and
18   information designated as either “Confidential” or “Highly Confidential” pursuant to the Stipulated
19   Protective Order.
20           5.         On August 7, 2013, Sharp filed an Administrative Motion to Seal (ECF 1834), and
21   lodged conditionally under seal the following documents, or portions thereof, pursuant to Civil Local
22   Rules 7-11 and 79-5(d):
23                      (a)    Portions of Sharp’s Opposition that contain information from documents that
24   the Hitachi Defendants have designated “Highly Confidential;” and
25                      (b)    Exhibits B through R, LL through SS, and UU attached to the Declaration of
26   Craig A. Benson in Support of Sharp’s Opposition (“Benson Declaration”), which include
27   documents and responses to interrogatories that the Hitachi Defendants have designated “Highly
28   Confidential.”
     COOPER DECLARATION IN SUPPORT OF SHARP’S            2                          CASE NO. 3:07-cv-05944-SC
     MOTION TO FILE UNDER SEAL
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 1          6.       Pursuant to Civil Local Rule 79-5(d), I make this declaration on behalf of the Hitachi
 2   Defendants to provide the basis for the Court to maintain under seal any documents and information
 3   designated by the Hitachi Defendants as “Highly Confidential” pursuant to the Stipulated Protective
 4   Order, and all references to those documents and information in Sharp’s Opposition.
 5          7.       Attached as Exhibit H to the Benson Declaration are excerpts from HDP’s
 6   Supplemental Response to Direct Purchaser Plaintiffs’ First Set of Interrogatories, Nos. 4 and 5,
 7   dated February 10, 2012.
 8          8.       Upon information and belief, the document appearing in Exhibit H of the Benson
 9   Declaration consists of, cites to, and/or identifies confidential, nonpublic, proprietary and highly
10   sensitive business information. The document contains, cites, and/or identifies confidential
11   information about HDP’s sales processes, business practices, internal practices, negotiations,
12   confidential business and supply agreements and competitive positions. This document, and the
13   documents it references, describes relationships with companies that remain important to HDP’s
14   competitive position. I am informed and believe that this is sensitive information and public
15   disclosure of this information presents a risk of undermining HDP’s business relationships, would
16   cause it harm with respect to its competitors and customers, and would put HDP at a competitive
17   disadvantage.
18          9.       Attached as Exhibit I to the Benson Declaration are excerpts from HDP’s Second
19   Supplemental Response to Direct Purchaser Plaintiffs’ First Set of Interrogatories, Interrogatory No.
20   5, dated April 12, 2013.
21          10.      Upon information and belief, the document appearing in Exhibit I of the Benson
22   Declaration consists of, cites to, and/or identifies confidential, nonpublic, proprietary and highly
23   sensitive business information.      The document contains, cites, and/or identifies confidential
24   information about HDP’s sales processes, business practices, internal practices, negotiations,
25   confidential business and supply agreements and competitive positions. This document, and the
26   documents it references, describes relationships with companies that remain important to HDP’s
27   competitive position. I am informed and believe that this is sensitive information and public
28   disclosure of this information presents a risk of undermining HDP’s business relationships, would
     COOPER DECLARATION IN SUPPORT OF SHARP’S         3                          CASE NO. 3:07-cv-05944-SC
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 1   cause it harm with respect to its competitors and customers, and would put HDP at a competitive
 2   disadvantage.
 3          11.      Attached as Exhibit SS to the Benson Declaration is a document produced by
 4   HED(US) bearing Bates stamp HEDUS-CRT00162777-79.
 5          12.      Upon information and belief, the document appearing in full in Exhibit SS of the
 6   Benson Declaration consists of, cites to, and/or identifies confidential, nonpublic, proprietary and
 7   highly sensitive business information. The document contains, cites, and/or identifies confidential
 8   information about HED(US)’s sales processes, business practices, internal practices, negotiations,
 9   confidential business and supply agreements and competitive positions. This document describes
10   relationships with companies that remain important to HED(US)’s competitive position. I am
11   informed and believe that this is sensitive information and public disclosure of this information
12   presents a risk of undermining HED(US)’s business relationships, would cause it harm with respect
13   to its competitors and customers, and would put HED(US) at a competitive disadvantage.
14          13.      Sharp’s Opposition quotes from or describes documents designated as “Highly
15   Confidential” by the Hitachi Defendants pursuant to the Stipulated Protective Order, including but
16   not limited to Exhibits H, I, and SS. As with the exhibits themselves, I understand that the Hitachi
17   Defendants consider any statements in Sharp’s Opposition purporting to summarize the exhibits or
18   any other documents designated “Highly Confidential” by the Hitachi Defendants confidential and
19   proprietary.
20          14.      I am informed and believe that the Hitachi Defendants have taken reasonable steps to
21   preserve the confidentiality of information of the type contained, identified, or cited to in Exhibits H,
22   I, and SS, and quoted, described, or referenced in Sharp’s Opposition.
23          I declare under penalty of perjury, under the laws of the United States of America, that the
24   foregoing is true and correct.
25          Executed this 12th day of August, 2013, at San Francisco, California.
26

27                                                         /s/ James Maxwell Cooper
                                                           James Maxwell Cooper
28
     COOPER DECLARATION IN SUPPORT OF SHARP’S          4                           CASE NO. 3:07-cv-05944-SC
     MOTION TO FILE UNDER SEAL
